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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA
                         WASHINGTON, D.C.

UNITED STATES OF AMERICA

v.                                                   CRIMINAL CASE NO.
                                                     1:21-CR-00116-DLF

WILLIAM MCCALL CALHOUN, JR.
     Defendant.


MOTION TO ACCEPT DEFENDANT’S LATE FILE SENTENCING MEMORANDUM

      COMES NOW, Defendant, William McCall Calhoun, Jr., by and through

undersigned counsel, and moves this Court, for good cause shown, for the entry of an

order accepting Defendant’s late filed Sentencing Memorandum

      As grounds for this Motion, undersigned counsel states as follows:

             1. On April 24, 2023 this Court entered a Minute Order ordering the parties

                to file their sentencing memoranda on or before July 21, 2023.

             2. On July 21, 2023 Defendant filed a Motion for Extension of Time to file

                his Sentencing Memorandum, requesting the Court to allow him to file

                it on or before July 24, 2023.

             3. On July 21, 2023 this Court granted his Motion.
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    4. Undersigned counsel filed Defendant’s Sentencing Memorandum

       within one hour of the deadline, but nevertheless, on July 25, 2023, and

       not July 24, 2023.

    5. This tardiness is by no means intended to be disrespectful to the Court,

       but is purely due to undersigned counsel being understaffed, having an

       above normal number of filing deadlines and trials, having been

       recently court appointed to a highly publicized murder case involving

       a 3-year old child, and the Defendant himself struggling to get his affairs

       in order related to his last few remaining clients, his law firm, his bar

       license, his health/medical care, packing/storing, etc., which has made it

       slightly more difficult for counsel and Defendant to confer, strategize

       and work on his case (with Defendant’s participation).

    6. Additionally, Defendant is still expecting character reference letters that

       undersigned counsel had hoped to receive in time to be filed as an

       exhibit to Defendant’s sentencing memorandum, but unfortunately, as

       of the time of filing, has not received them.

    7. Defendant’s memorandum was filed in the early morning hours of July

       25, 2023, so it will be before this Court and opposing counsel by the start

       of their day on July 25th.




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             8. The Government will not be prejudiced by this Court’s acceptance of

                 Defendant’s late filed reply.

      WHEREFORE, Defendant respectfully requests that this Court enter an order

accepting the late filing of his Sentencing Memorandum.

      Defendant’s Sentencing Memorandum was filed separately from this Motion and

within the appropriate ECF filing section for a Sentencing Memorandum.

      Respectfully submitted, this 25th day of July 2023.

                                                 /s/ Jessica N. Sherman-Stoltz
                                                 JESSICA N. SHERMAN-STOLTZ, ESQ.
                                                 VIRGINIA STATE BAR NO. 90172
                                                 Attorney for William McCall Calhoun, Jr.
                                                 Sherman-Stoltz Law Group, PLLC.
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                                                 Email: jessica@sslg.law




                              CERTIFICATE OF SERVICE

      I hereby CERTIFY that on this the 25th day of July 2022, a true and correct copy of

the foregoing Motion to Accept Late Filing was filed with the Clerk of Court via the

CM/ECF system, which will automatically send an email notification of such filing to all

counsel of record.



                                          /s/ Jessica N. Sherman-Stoltz_
                                         Jessica N. Sherman-Stoltz, Esq.


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